                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                )
 IN RE: SOCIAL MEDIA ADOLESCENT ) MDL DOCKET NO. 3047
 ADDICTION / PERSONAL INJURY    )
 PRODUCT LIABILITY LITIGATION   )


                                        PROOF OF SERVICE
        I MICHAEL M. WEINKOWITZ, hereby certify that counsel for all parties that are registered

for electronic service by the Court’s CM/ECF system; that the foregoing Notice of Appearance and this

Proof of Service are being filed by ECF; and that all parties are being served electronically by the CM/ECF

system’s notice of electronic filing and also via Email and First Class mail:
Dated: August 4, 2022   Respectfully submitted,
                        LEVIN SEDRAN & BERMAN LLP

                        By:      /s/ Michael M. Weinkowitz
                               Michael M. Weinkowitz
                               510 Walnut Street, Suite 500
                               Philadelphia, Pennsylvania 19106-3697
                               Telephone: (215) 592-1500
                               Facsimile: (215) 592-4663
                               Email: MWeinkowitz@lfsblaw.com
                               Attorney for Plaintiff Clevenger
